Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 1 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 2 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 3 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 4 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 5 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 6 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 7 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 8 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 9 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 10 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 11 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 12 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 13 of 14
Case 4:22-cv-00852-BCW Document 4-1
                                1-2 Filed 01/09/23
                                          12/28/22 Page 14 of 14
